Case 2:22-cv-12951-MAG-JJCG ECF No. 46, PageID.749 Filed 05/03/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
JILL BABCOCK, et al.,                           Case No. 22-cv-12951
                                                Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

 LAW FOR BABY BOOMERS PLLC                    THE MILLER LAW FIRM, P.C.
 Michael W. Bartnik (P32534)                  Melvin B. Hollowell (P37834)
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 elizabeth@abdnour.com
 Attorneys for Plaintiff
______________________________________________________________________________


                     APPEARANCE OF MELVIN B. HOLLOWELL

       PLEASE TAKE NOTICE that Melvin B. Hollowell of The Miller Law Firm, P.C. hereby

enters his Appearance on behalf of Defendant, Wayne County, in the above-captioned matter.

Please serve all notices, copies of pleadings, papers and other relevant materials upon the

undersigned.
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                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/Melvin B. Hollowell
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                                               Attorneys for Defendant, Wayne
                                               County

Dated: May 3, 2023




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                           STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                           Case No. 22-cv-12951
                                                Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
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                                 PROOF OF SERVICE

       Melvin B. Hollowell certifies that on May 3, 2023, he caused to be served Notice of

Appearance of Melvin B. Hollowell and this Proof of Service upon all counsel of record via

electronic filing system.

                                                       /s/ Melvin B. Hollowell
                                                       Melvin B. Hollowell
Dated: May 3, 2023
